                            Case 2:10-cr-00009-KJM Document 36 Filed 09/10/10 Page 1 of 2


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                      4 Attorney for Defendant
                           FRANCISCO GARIN
                      5

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                      8                         UNITED STATES DISTRICT COURT

                      9                        EASTERN DISTRICT OF CALIFORNIA

                      10

                      11 UNITED STATES OF AMERICA,                  CR. S-10-09 FCD

                      12              Plaintiff,                    STIPULATION AND ORDER TO
                                                                    CONTINUE STATUS AND TO SET
                      13        v.                                  EVIDENTIARY HEARING

                      14 FRANCISCO GARIN,

                      15              Defendant.
                                                           /
                      16

                      17        THE PARTIES HEREBY STIPULATE AND AGREE that, pursuant to

                      18 the court’s request, the status conference now scheduled in this

                      19 matter for September 13, 2010, shall be continued to December 3,

                      20 2010, at 10:00 a.m. for an evidentiary hearing on the defense

                      21 motion to suppress.

                      22        THE PARTIES FURTHER STIPULATE that the time is excludable

                      23 from the time limitations of the Speedy Trial Act because the

                      24 interests of justice are served by granting a continuance.              This

                      25 continuance will permit continuity of counsel, and allow the

                      26 reasonable time necessary for effective preparation, taking into

                      27 account the exercise of due diligence.           18 U.S.C. sections
LAW OFFICES
 506 BROADWAY         28 3161(h)(8)(A) and (B)(iv).
SAN FRANCISCO
  (415) 986-5591
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                           Case 2:10-cr-00009-KJM Document 36 Filed 09/10/10 Page 2 of 2


                      1        IT IS SO STIPULATED.

                      2        Dated: January 29, 2010

                      3

                      4  /s/ J. TONY SERRA
                        J. TONY SERRA
                      5 Attorney for FRANCISCO GARIN

                      6

                      7  /s/ NEDRA RUIZ
                        NEDRA RUIZ
                      8 Attorney for ANTONIO GUERRERO

                      9

                      10  /s/ PAUL ANDREW HEMESATH
                         PAUL ANDREW HEMESATH
                      11 Assistant U.S. Attorney

                      12

                      13                                    ORDER

                      14       Good cause appearing, and based upon the stipulation of the

                      15 parties,

                      16       IT IS HEREBY ORDERED that the hearing in this matter is

                      17 continued to December 3, 2010, at the hour of 10:00 a.m. for an

                      18 evidentiary hearing, and that time is excluded as stipulated.

                      19 Dated: September 10, 2010

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                                                          _______________________________________
                      22                                  FRANK C. DAMRELL, JR.
                                                          UNITED STATES DISTRICT JUDGE
                      23

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                      27
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